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 Attorneys for the Debtors

                                                 :   UNITED STATES BANKRUPTCY COURT
 In re:                                          :   FOR THE DISTRICT OF NEW JERSEY
 SHAPES/ARCH HOLDINGS L.L.C., et                 :   CHAPTER 11
 al.,                                            :
              Debtors.                           :   CASE NO. 08-14631 (GMB)
                                                 :
                                                 :

                DEBTORS’ MOTION TO DISALLOW CLAIMS FOR
         CONTRIBUTION AND IN THE ALTERNATIVE TO ESTIMATE CLAIMS
         Shapes/Arch Holdings L.L.C. and its related debtor entities (collectively the “Debtors”),1

 the debtors and debtors-in-possession, hereby move (the “Motion”) to disallow proofs of claim

 (the “Claims”) filed by parties whose claims are based upon rights of contribution arising from

 several lawsuits related to certain environmental claims. Because each of the claims is

 contingent and a request for contribution from the Debtors, the claims should be disallowed

 pursuant to 11 U.S.C. § 502 (e)(1)(B). In the alternative, the Debtors request that the Court

 estimate the amounts of the asserted claims for plan voting purposes. In support of the Motion

 the Debtors represent as follows:




 1
   In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of
 which are wholly owned subsidiaries of Shapes/Arch, also filed petitions on the Petition Date
 (defined below): Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C.
 (“Accu-Weld”); and Ultra L.L.C. (“Ultra”).


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                                             Background

         1.       On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

 petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

 Code”).

         2.       These cases are being jointly administered pursuant to this Court’s Order of

 March 18, 2008 under the lead debtor “Shapes/Arch Holdings L.L.C.”

         3.       The Debtors are operating their businesses and managing their properties as

 debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

         4.       No trustee or examiner has been appointed in these cases.

         5.       An official committee of unsecured creditors (the “Committee”) was appointed on

 March 31, 2008, and has been active in these cases since that time.

         6.       The Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. Venue

 is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28

 U.S.C. § 157(b)(2).

 A.      Background of Debtors’ Business Operations

         7.       Shapes/Arch is a holding company that owns each of the four operating

 companies - Shapes, Delair, Accu-Weld and Ultra. The Debtors’ predecessor was established in

 New Jersey in 1952 to produce aluminum windows. By 1959, the business had expanded and

 began focusing on producing aluminum extrusions. The Debtors have consistently expanded

 their businesses over the years by investing in new facilities and technology and by establishing

 new product lines. On a consolidated basis, the Debtors’ net revenue in 2007 was $273.8

 million, with Shapes generating approximately 65% of that revenue. The Debtors have over

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 1000 employees, approximately 70% of whom are members of either the International

 Brotherhood of Teamsters Local 837, or the United Independent Union.

         8.       Shapes is the largest operating Debtor with 2007 revenue over $179 million and

 over 600 employees. Shapes is a leading producer of custom aluminum extrusions for a variety

 of industries, including road and rail transportation and commercial and residential construction.

 Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to

 create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the

 necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press

 capacity and because all of its casting, extruding, fabricating and finishing is completed in one

 facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates

 twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be

 pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a

 variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of

 extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World

 Records” for the largest free standing aluminum structure ever created in connection with the

 restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in

 connection with the restoration of the Washington Monument.

         9.       In 2007 Shapes’ revenues decreased by approximately $35 million compared to

 2006. This decrease is, at least in part, attributable to the fact that 65% of Shapes’ sales are to

 the trailer, truck body and railcar sectors, all of which have been experiencing an economic

 downturn.

         10.      Delair manufactures maintenance free aluminum fence systems for residential and

 commercial use, and manufactures America’s most recognized brand of above-ground pools.


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 Both product lines are sold through dealers, distributors and major retailers throughout the

 United States.

         11.      Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,

 New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair

 purchases approximately 70% of its product line from Shapes.

         12.      Because Delair’s sales are largely tied to consumer spending and the housing

 market, Delair has suffered with that sector of the economy and its 2007 revenues were $5.5

 million less than in 2006.

         13.      Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl

 replacement windows and steel doors. Accu-Weld’s products are sold to installers, dealers and

 home improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United

 States. Accu-Weld operates out of a 100,000 square foot facility in Bensalem, Pennsylvania.

 Unlike many of its competitors, Accu-Weld extrudes its own vinyl profiles, which results in

 faster production and delivery to the customer.

         14.      Accu-Weld’s net revenues in 2007 were $24.9 million, down from $37 million in

 2006. The loss of revenue is due principally to Accu-Weld ceasing to do business with certain

 customers that were not profitable or which presented significant, unjustifiable credit risk and the

 general decline of the housing market.

         15.      Ultra is one of the leading suppliers of value branded hardware products in the

 United States, including locksets, door and window hardware and other decorative hardware.

 Ultra has over 8,000 products sourced primarily from China. Ultra’s products are sold to home




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 improvement and hardware retailers, hardware cooperatives and distributors, home builders and

 window and door manufacturers.

         16.      Ultra operates from a 75,000 square foot distribution facility in Pennsauken, New

 Jersey, with two million cubic feet of storage space.

         17.      Ultra’s EBITDA decreased by $2.2 million due primarily to sales of hardware to

 lower margin accounts and the rapid escalation of product costs from China that could not be

 passed on to Ultra’s customers.

         18.      Prior to the Petition Date, Shapes, Delair, Accu-Weld and Ultra (as co-borrowers

 and co-guarantors) became indebted to a lender group consisting of The CIT Group/Business

 Credit, Inc. (“CIT”), as agent, and Bank One, National Association (“Bank One”) pursuant to a

 financing agreement, dated December 30, 2003 (as amended from time to time, the “Financing

 Agreement”). The current members of the lender group are CIT, as agent, JPMorgan Chase

 Bank N.A. (successor to Bank One) (“JP Morgan”) and Textron Financial Corporation (the

 “Lender Group”).

 B.      The Debtors’ Pre-petition Financing

         19.      Pursuant to the Financing Agreement, the Lender Group provided financing in the

 form of revolving loans (based upon a percentage of eligible inventory and accounts receivable),

 a term loan, and letters of credit. The Financing Agreement was amended on fifteen occasions,

 most recently on or about March 6, 2008, principally to address the needs of the Debtors to

 borrow funds in excess of what was available based upon their eligible inventory and accounts in

 light of the cyclical nature of the Debtors’ businesses. The fifteenth amendment enabled the

 Debtors to borrow up to $4.4 million beyond its available borrowing base (the “PP&E Equity



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 Borrowing Base Component”), and required that the Debtors re-pay the PP&E Equity Borrowing

 Base Component on or before March 14, 2008.

         20.      As of the Petition Date, the Financing Agreement provided for a maximum total

 credit facility of $75.7 million, and a maximum line of credit of $67 million. Shapes/Arch and

 its parent, Ben LLC, are guarantors of the debt to the Lender Group. The Lender Group has a

 first priority lien on and security interest in substantially all of the Debtors’ assets, including,

 without limitation, all accounts receivable, inventory, machinery and equipment and real

 property, and the proceeds thereof.

         21.      As of the Petition Date, the outstanding borrowings from the Lender Group were

 as follows: (i) revolving loans totaling approximately $47.72 million (inclusive of the PP&E

 Equity Borrowing Base Component); (ii) term loans totaling approximately $8.35 million; and

 (iii) letters of credit totaling approximately $3.55 million for an aggregate indebtedness to the

 Lender Group in the amount of $59.62 million (the “Bank Debt”).

         22.      The Debtors’ Chapter 11 filings were precipitated by a number of factors. The

 principal factor leading to the Debtors’ filings is that the economic sectors in which the Debtors

 operate have experienced a downturn, which decline has affected the Debtors’ revenues and

 EBITDA beginning in late 2006 and continuing through the first quarter of 2008. The Debtors’

 revenue decreased by about fifteen percent (15%) from $322 million in 2006 to $274 million in

 2007, with projected revenue in 2008 of $262 million. The Debtors’ EBITDA plummeted from

 about $21 million in 2006 to about $3.7 million in 2007. The Debtors have been unable to

 remain current with creditors, in particular, utilities and major suppliers, because of this

 downturn.




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         23.      With the contraction in purchases by the Debtors’ customer base and the Debtors’

 overhead remaining largely static, the Debtors were struggling to fund their operations under

 their existing lending arrangement and found themselves in a situation in which they could not

 repay the PP&E Borrowing Base Component or pay past due obligations to venders in excess of

 $15 million.

         24.      Over the course of the four months prior to the Petition Date, the Lender Group

 worked with the Debtors to attempt to find a solution. In late 2007, CIT Capital Securities LLC,

 an affiliate of the agent for the Lender Group, was engaged to attempt to obtain additional

 financing for the business. Despite their efforts, they were unable to identify any lender willing

 to provide additional, subordinated, financing to the Debtors or to refinance the Bank Debt.

         25.      Closer to the Petition Date, the Debtors explored a possible sale/leaseback

 transaction with certain third parties. The Debtors, however, were not successful in negotiating a

 transaction that would adequately address the Debtors’ needs going forward.

         26.      The Debtors also explored potential sale opportunities with existing management

 and third parties, but elected not to pursue these potential opportunities in favor of the Versa

 transaction (described hereinbelow) because the Versa transaction presented a better opportunity

 to preserve the going concern and maximize a recovery for all creditor constituencies.

         27.      With the Debtors’ need for borrowings in excess of the borrowing base provided

 for in the Financing Agreement projected to increase to over $7.4 million during the period

 shortly after the Petition Date, without factoring in any payment to restructuring professionals or

 to venders on the past due trade debt, and the Lender Group’s inability and unwillingness to fund

 any additional overadvance, the Debtors’ continued ability to operate was in substantial doubt

 without a quick and efficient transaction.

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 C.      Versa Capital Management

         28.      In late January, 2008, the Debtors began a dialogue with Versa Capital

 Management, Inc. (“Versa”), a Philadelphia based private equity firm, to discuss Versa’s interest

 in a possible transaction. Versa expressed interest and conducted extensive due diligence with

 respect to the Debtors’ businesses in late January.

         29.      Also during this time frame, the Debtors retained Phoenix Management Services,

 Inc. (“Phoenix”), a turnaround and crisis management firm, to (i) assist the Debtors in working

 with the Lender Group; (ii) develop cash flow models to determine how severe the Debtors’

 liquidity issues were and would become over the following weeks and months; and (iii) explore

 the Debtors’ alternatives.

         30.      In February, Versa, the Debtors and representatives of the owners of Ben LLC

 engaged in arms length negotiations which culminated in an agreement whereby Arcus ASI

 Funding, LLC and Arcus ASI, Inc. (affiliates of Versa, hereinafter “Arcus”), would, among other

 things, commit to lend up to $25 million to the Debtors during the Chapter 11 proceedings (and

 provide additional funding and an equity infusion to help the Debtors reorganize). As part of the

 agreement, Arcus was to become a manager of (but not a member of) Shapes/Arch (with 79.9%

 of the voting rights) and Ben LLC would retain 100% of the ownership rights and 20.1% of the

 voting rights. This transaction was made subject to many terms and conditions including,

 obtaining the Lender Group’s commitment to provide debtor-in-possession and exit financing for

 the companies. The Debtors, Versa and the Lender Group ultimately reached an agreement on

 the terms and conditions upon which Arcus would provide additional financing to the Debtors

 (and the PP&E Equity Borrowing Base Component would be eliminated) during any Chapter 11

 process, as well as provide an exit facility for the Debtors.


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 D.      The Debtors’ Bankruptcy Filing

         31.      In light of the available financing from the Lender Group and Versa, and the

 current state of the Debtors’ businesses, the Debtors, their management, representatives of the

 owners of Ben LLC, and Versa agreed that the Debtors would need to seek bankruptcy

 protection in order to effectuate the transaction.

         32.      Contemporaneously with the filing of the bankruptcy petitions, the Debtors filed a

 debtor-in-possession financing motion and a plan and disclosure statement that provided, among

 other things, for the financing of the Debtors’ operations during the Chapter 11 process, exit

 financing for the Debtors upon confirmation of the Debtors’ plan of reorganization, payment of

 all administrative and priority unsecured claims in full, and a dividend to holders of general

 unsecured claims (the “Arcus Plan”).

         33.      The Arcus Plan reflected a commitment by (i) the Lender Group to provide the

 Debtors with revolving loans throughout the Chapter 11 proceedings and upon exiting

 bankruptcy in the amount of up to $60 million all on terms and conditions more fully set forth in

 the applicable documents to be executed in favor of the Revolving DIP Lenders, and (ii) Arcus to

 pay off the Lender Group’s term loans, to fund the PP&E Equity Borrowing Base Component, to

 provide additional working capital for the Debtors, and to fund a dividend to creditors, requiring

 a total commitment by Versa of more than $25 million.

         34.      The Debtors worked diligently over the several weeks prior to the Petition Date,

 in a difficult setting, toward a solution that would present an opportunity to maximize a return

 for all creditor constituencies and at the same time maximize the likelihood that the Debtors’

 businesses would remain viable so that the Debtors could continue to be one of South Jersey’s

 largest employers for the foreseeable future.


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         35.      At the first day hearing in these cases, this Court entered thirteen (13) Orders

 granting first day motions on an interim or final basis, including interim orders approving debtor-

 in-possession financing from the Lender Group and Arcus (the “Arcus DIP Loan”).

 E.      Arch Provides DIP Financing and Sale Proposals on Better Terms

         36.      Approximately two weeks after the Petition Date, on or about April 1, 2008,

 Arch, an affiliate of Signature Aluminum and H.I.G. Capital Partners, filed an objection to the

 Debtors’ financing motion in which it expressed an interest in providing an alternative financing

 arrangement on better terms and participating in a sale process pursuant to 11 U.S.C. § 363 or

 through a revised plan. As further evidence of its commitment to an open and competitive sales

 process, Arch provided the Debtors and the Committee with, inter alia, a Debtor-in-Possession

 Financing Agreement on better terms than the Arcus DIP Loan, a proposed Order approving

 such financing from Arch, and an asset purchase agreement providing for a purchase price in

 excess of the value provided by Arcus in the Arcus Plan. Upon the request of the Committee,

 Arch converted their asset purchase agreement to a plan of reorganization on better terms than

 the Arcus Plan, including but not limited to a pool of funds for general unsecured creditors of

 $5,000,000 (as opposed to the $500,000 unsecured pool provided in the Arcus Plan).

         37.      On May 1, 2008, after Arch completed its due diligence, and after extensive

 discovery propounded by the Committee and Arcus and several days of depositions of the

 parties, Arch provided the Debtors with commitment letters for financing the alternative

 transaction and the Lender Group advised the Debtors that it would continue funding the

 Debtors’ operations if Arch replaced Arcus. Arch’s alternative DIP financing package and the

 alternative plan (the “Arch Alternative Proposal”) was now free of any due diligence

 contingencies and any financing contingencies with respect to the debtor-in-possession financing


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 and the exit financing under the alternative plan; provided for the Lender Group’s continued

 funding under its debtor-in-possession revolver facility; included more favorable (less restrictive)

 covenants and lower interest and fees; provided a higher return for unsecured creditors; and

 included a full and open competitive process, thereby maximizing the value of the Debtors’

 estates.

            38.   Upon becoming aware that Arch had financing commitments and CIT’s

 agreement to continue funding under its DIP revolver, the Debtors determined that the Arch

 Alternative Proposal was higher and better than the Arcus Plan. The Debtors then advised Arcus

 that the Debtors were not prepared to proceed with the hearing on the Arcus Plan’s disclosure

 statement and that the Debtors believed it was in the best interests of the estates to proceed with

 the Arch Alternative Proposal.

            39.   After intense negotiations between and among the Debtors, the Committee,

 Arcus, the Lender Group, and Arch in the Courthouse on May 1, 2008, including a Chambers

 conference with the Court, the parties reached an agreement whereby, among other things, Arcus

 would assign to Arch its rights under the Arcus DIP Loan and Arch would become the plan

 sponsor under an amended plan (in form substantially similar to the Arch Plan) to be filed by

 May 12, 2008.

            40.   The Debtors’ decision to proceed with the Arch Alternative Proposal was

 announced to the Court late in the day on May 1, 2008 and the parties agreed to submit final

 orders approving the debtor-in-possession financing and the settlement among the parties.

            41.   On May 6, 2008, the Court entered Orders, inter alia, granting final approval of

 the debtor in possession financing from the Lender Group and Arch, as assignee of the Arcus

 DIP Loan (the “Final DIP Orders”). Among other things, the Final DIP Order (with respect to

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 Arch) approved the assignment of the Arcus DIP Loan to Arch and the Amended and Restated

 Debtor-in-Possession Term Loan Financing Agreement entered into by and between Arch and

 the Debtors, dated May 6, 2008 (the “Arch Amended DIP Agreement”). The Arch Amended

 DIP Agreement provides, inter alia, that Arch’s obligations are conditioned upon the approval of

 a competitive process set forth on Exhibit C to the DIP Loan Agreement.


 F.      Approval of the Disclosure Statement and Bidding Procedures

         42.      On May 12 and 13, 2008, respectively, the Debtors filed their Second Amended

 Joint Plan (the “Second Amended Plan”) and disclosure statement. Although the Debtors, Arch

 and the Committee had not agreed on all of the terms of the Second Amended Plan, it was filed

 in order to avoid a default under the terms of the Arch Amended DIP Agreement. The Second

 Amended Plan provided for a competitive process by which third parties would have an

 opportunity to conduct due diligence and participate in an auction to purchase the equity interests

 in Shapes/Arch (and thus obtain ownership of the equity interests in all of the Debtors) prior to

 the confirmation hearing.

         43.      On May 12, 2008, the Debtors filed a motion for approval of bid procedures (the

 “Bid Procedures Motion”) to: (a) control the method by which potentially interested bidders

 would be able to obtain due diligence, (b) provide the procedures for parties submitting

 competing bids to follow, and (c) schedule and provide procedures for an auction, if qualified

 bids are submitted.

         44.      On May 20, 2008, the Court granted the Bid Procedures Motion, which required

 all competing bids to be submitted no later than June 25, 2008, and scheduled an auction for June

 27, 2008, if qualified bids are submitted.



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         45.      On May 23, 2008, the Court approved the disclosure statement (the “Disclosure

 Statement”) in support of the Debtors’ Third Amended Joint Plan (the “Third Amended Plan”).

 The Third Amended Plan was filed after the Debtors, Arch and the Committee had resolved the

 issues that had been outstanding at the time the Second Amended Plan was filed. A hearing to

 consider confirmation of the Third Amended Plan is scheduled for July 8, 2008.


                                           Relief Requested

         46.      By this Motion, the Debtors respectfully request that the Court disallow the

 claims listed on Exhibits “A” through “E” (the “Claims”) pursuant to 11 U.S.C. § 502(e)(1)(B)

 because the Claims are contingent and for reimbursement or contribution.2

         47.      At environmental sites like those described in this Motion, the liability of waste

 contributors generally is joint and several. See, e.g., New Castle County v. Haliburton NUS

 Corp., 111 F.3d 1116, 1121 (3d Cir. 1997). Thus, each of the Claims is one as to which if a

 Debtor is liable, the claimant is also liable with that Debtor. Moreover, the claims are

 contingent.

         48.      Alternatively, because the amounts asserted in the Claims far exceeds the possible

 total of all past and future cleanup costs, and by a much greater magnitude exceeds any share of

 liability that could potentially be attributed to any of the Debtors, if the Court determines that the

 mandatory provisions of section 502(e)(1)(B) of the Bankruptcy Code do not apply to the

 Claims, then the Debtors request that all of the Claims with respect to each site be




 2
  The Debtors note that they have filed separate objections to many of the Claims listed on
 Exhibit “A” on the basis that many of the claims are duplicates and/or were filed against the
 wrong Debtor.

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 recharacterized as one claim with respect to each site, and that the one claim for each site be

 estimated for plan voting purposes.


                                   A. The Pennsauken Litigation Claims

         49.      On December 4, 1991, Pennsauken Township and the Authority that owns and

 operates the Pennsauken Landfill, filed a contribution action entitled Pennsauken Solid Waste

 Mgmt. Auth., et al. v. Ward Sand Materials Co., Inc., et al., Dkt. No. L-13345-91, in the Superior

 Court of New Jersey, Camden County, Law Division. The complaint alleged that one of the

 Debtors’ predecessors, along with numerous other entities, generated wastes containing

 hazardous substances that were disposed at the “Pennsauken Landfill.”

         50.      The Debtors deny liability at the Pennsauken Landfill on multiple grounds,

 including, but not limited to (a) the Debtors sent no waste to the Pennsauken Landfill; (b) any

 waste the Debtors sent to the Pennsauken Landfill was not hazardous; (c) any waste the Debtors

 sent to the Pennsauken Landfill did not cause the incurrence of any cleanup costs; (d) thousands

 of other generators sent wastes to the Pennsauken Landfill and therefore any liability of the

 Debtors is negligible or de minimis; (e) costs incurred and to be incurred at the Pennsauken

 Landfill are for routine municipal landfill closure costs of which the Debtors are not liable; (f)

 any waste the Debtors sent to the Pennsauken Landfill is unrelated to and did not cause the

 incurrence of any groundwater cleanup costs. The Debtors reserve their rights with respect to

 each of these defenses in the event this Motion is denied in whole or in part.

         51.      Many entities involved at the Pennsauken Landfill filed proofs of claim against

 one or more of the Debtors (the “Pennsauken Landfill Claims”). While the circumstances and

 monetary amounts asserted in the proofs of claim vary from claimant to claimant, in general, the

 Pennsauken Landfill Claims involve (a) the incurrence of certain past costs at the Pennsauken

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 Landfill to which the claimants assert that the Debtors have made an insufficient contribution,

 and (b) the expected incurrence of certain future costs at the Pennsauken Landfill.


                                   B. The Puchack Wellfield Claims
         52.      The proofs of claim listed on Exhibit “B” all relate to claims arising out of the

 Puchack Wellfield, which is located in Pennsauken, New Jersey.

         53.      There are several issues related to the Puchack Wellfield, which is located in

 Pennsauken, New Jersey. First the Puchack Wellfield is an EPA National Priority List site

 because the property is allegedly contaminated with chromium and other hazardous materials.

 Second, the State of New Jersey Department of Environmental Protection (“NJDEP”) has

 alleged that the Debtors’ predecessor(s) and other parties had allegedly discharged hazardous

 substances into the groundwater. A. & H. Bloom Construction Company has filed a proof of

 claim against the Debtors seeking contribution from the Debtors.

         54.      The remaining parties on Exhibit “B” filed contribution claims against the

 Debtors related to a private action captioned Harris v. Advance Process Supply Co. (Dkt. No. L-

 03815-02), Superior Court, Camden County). In the Harris case, several plaintiffs sought class

 certification for alleged damages related to the Puchack Wellfield. The Superior Court denied

 class certification on June 30, 2006, and the matter is currently on appeal to the Appellate

 Division.


                                           C. D’Imperio Site
         55.      The D’Imperio site is an EPA National Priority List site in Atlantic County, New

 Jersey, at which one of the Debtors’ predecessors was named as a potentially responsible party.

 Groundwater at this site has been actively remediated for approximately ten years.




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          56.     The claims listed on Exhibit “C” seek contribution from the Debtors for

 remediation of the site. The claims indicate that they are for the Debtors’ alleged current or

 future liability for the remediation costs at the D’Imperio site.


                                             D. Ewan Site
          57.     The Ewan site is an EPA National Priority List site in Burlington County, New

 Jersey, at which one of the Debtors’ predecessors was named as a potentially responsible party.

 Groundwater at this site has been actively remediated at the Ewan site since 1999.

          58.     The claims listed on Exhibit “D” seek contribution from the Debtors for

 remediation of the site. The claims indicate that they are for the Debtors’ alleged current or

 future liability for the remediation costs at the Ewan site.


                                       E. Lightman Drum Site
          59.     The Lightman Drum site is an EPA National Priority List site in Camden County,

 New Jersey, at which one of the Debtors’ predecessors was named as a potentially responsible

 party.

          60.     The claims listed on Exhibit “E” seek contribution from the Debtors for

 remediation of the site. The claims indicate that they are for the Debtors’ alleged current or

 future liability for the remediation costs at the Lightman Drum site.

                                           Basis for Relief

                     A. The Claims Should be Disallowed as Contribution Claims

          61.     Section 502(e)(1) of the Bankruptcy Code provides that:


                  the court shall disallow any claim for reimbursement or
                  contribution of an entity that is liable with the debtor on or has
                  secured the claim of a creditor, to the extent that –


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                                               *   *    *

                  (B) such claim is for reimbursement or contribution is contingent
                  as of the time of allowance or disallowance of such claim for
                  reimbursement or contribution . . . .
 11 U.S.C. § 502(e)(1)(B).

          62.     In In re G-I Holdings, Inc., 308 B.R. 196 (Bankr. D.N.J. 2004), the court listed

 three elements necessary to disallow a claim under section 502(e)(1)(B):


                  1) the claim must be one for reimbursement or contribution; 2) the
                  entity asserting the claim must be liable with the debtor on the
                  claim of a creditor; and 3) the claim must be contingent at the time
                  of its allowance or disallowance.
 Id. at 212 (citing In re Allegheny Int’l, Inc., 126 B.R. 929, 921 (W.D.Pa.), aff’d without opinion,

 950 F.2d 721 (3d Cir. 1991)). See also In re APCO Liquidating Trust, 370 B.R. 625, 631

 (Bankr. D.Del. 2007).

          63.     The Debtors submit that they satisfy all of the above elements related to the

 Claims. First, the Claims are, in whole or in part for reimbursement or contribution. Second, the

 Claims are made by co-defendants, cross-claimants, and third party plaintiffs in the various

 environmental cases discussed above. Finally, because the Debtors liability has not been

 established with finality in any of the above environmental cases, the Claims are contingent.

 Therefore, the Claims should be disallowed under 11 U.S.C. § 502(e)(1)(B). See, e.g., In re The

 Charter Co., 862 F.2d 1500, 1502-03 (11th Cir. 1989), APCO, 370 B.R. at 637, In re

 Cottonwood Canyon Land Co., 146 B.R. 992 (Bankr. D.Colo. 1992), In re Bicoastal Corp., 141

 B.R. 231, 234 (Bankr. M.D.Fla 1992), In re A & H, Inc., 122 B.R. 84, 85 (Bankr. W.D.Wis.

 1990).

          64.     Moreover, the Debtors further note that a motion to disallow contribution claims

 related to the Pennsauken Litigation has been granted in at least one other bankruptcy case. In In

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 re FV Steel and Wire Co., Case No. 04-22421 (Bankr. E.D.Wis. 2005), FV Steel was alleged to

 have been a responsible party in the Pennsauken Litigation. FV Steel filed a motion to disallow

 contribution claims (including, a contribution claim asserted by one of the Debtors) on identical

 grounds as asserted in this Motion. The court granted that motion, finding that the claims were

 for contribution and, thus, not allowable under section 502(e)(1)(B). A copy of the order

 granting LV Steel’s motion is attached as Exhibit “F”.


             B. The Court Should Estimate the Amount of the Claims for Voting Purposes
         65.      In the unlikely event that the Court determines that the mandatory provision of

 section 502(e)(1)(B) of the Bankruptcy Code does not apply to any of the Claims, then the

 Debtors request that all of the Claims with respect to each site be recharacterized as one claim

 with respect to each site, and that the one claim for each site be estimated for plan voting

 purposes.

         66.      Section 502(c) of the Bankruptcy Code provides that “[t]here shall be estimated

 for purposes of allowance under this section – (1) any contingent or unliquidated claim, the

 fixing or liquidation of which, as the case may be, would unduly delay the administration of the

 case.” 11 U.S.C. § 502(c). Under section 502(c), the Court may estimate any contingent or

 unliquidated claim when delay in the administration of the case would otherwise result. See,

 e.g., In re Brints Cotton Mfg., Inc., 737 F.2d 1338, 1340-51 (5th Cir. 1984), In re the Nova Real

 Estate Inv. Trust, 23 B.R. 62, 65 (Bankr. E.D.Va. 1982).

         67.      The Claims are contingent and unliquidated. The potential impact upon the

 Debtors’ estates if each of the Claims were allowed in full (instead of considered as one claim

 for each site, and estimated), could present an obstacle for confirmation of the Third Amended




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 Plan, and could drastically increase the dollar amount of unsecured claims in the case to the

 detriment of other, appropriately allowed claims.


                                   C. Duplicate Claims Should be Disallowed
         68.      The Debtors note that many of the Claimants filed duplicate claims against one of

 the Debtors or claims that are duplicates except for the fact that they are filed against different

 Debtors. In the unlikely event that the Court does not grant relief to the Debtors under

 subsection A or B, above, the Debtors request that the Court disallow the duplicate or redundant

 claims listed on Exhibits “A” through “E”, so that the Claimants do not unfairly receive multiple

 distributions for what is, in actuality, one claim.

         69.      Therefore, the Debtors submit that the Claims should be (i) considered as one

 claim for each site, and (ii) estimated for purposes of plan voting. Other creditors in these cases

 would likely be harmed by any other result.

                                                 Reservation

         70.      The Debtors expressly reserve and preserve the right to object in the future to the

 Claims on any additional grounds, and to amend, modify and/or supplement this Motion,

 including, without limitation, to object to amended claims, newly-filed claims, and claims

 hereafter identified as Claims. Separate notice and hearing will be scheduled for any such

 objection.

                                                   Notice
         71.      Notice of this Motion has been provided to: (a) counsel for CIT, (b) counsel for

 Arch, (c) the Office of the United States Trustee, (d) the Internal Revenue Service, (e) the New

 Jersey Attorney General, (f) the Commonwealth of Pennsylvania Department of Revenue, (g)

 counsel to the Committee, (h) all parties that are listed on Exhibits “A” through “E” (i) the


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 United States Environmental Protection Agency, (j) the New Jersey Department of

 Environmental Protection, and (k) all parties on the Master Service List. In light of the nature of

 the relief requested herein, the Debtors submit that no further notice is necessary.



         WHEREFORE, the Debtors respectfully request that the Court: (a) grant the Motion; (b)

 disallow the Claims; and (c) grant such other and further relief as is just and proper.

 Dated: June 20, 2008                          COZEN O’CONNOR

                                               By:       /s/ Jerrold N. Poslusny, Jr.
                                                     Mark E. Felger
                                                     Jerrold N. Poslusny, Jr.

                                                     Attorneys for the Debtors




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